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                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION

 IN RE:                                                           )
                                                                  )
 ITT EDUCATIONAL SERVICES, INC., et al. 1                         )        Case No. 16-07207-JMC-7A
                                                                  )
          Debtors.                                                )        Jointly Administered

                   TRUSTEE’S MOTION TO COMPROMISE
       AND SETTLE CERTAIN CLAIMS ASSERTED AGAINST ITT’S FORMER
     CHIEF EXECUTIVE OFFICER AND ITT’S FORMER BOARD OF DIRECTORS

          Deborah J. Caruso, the chapter 7 trustee in this case (the “Trustee”), by counsel, requests,

 pursuant to 11 U.S.C. §§ 105(a) and 363 and Rule 9019 of the Federal Rules of Bankruptcy

 Procedure, entry of an order substantially in the form attached hereto as Exhibit A (the

 “Proposed Order”), approving the terms of a proposed settlement by and between the Trustee,

 acting for and on behalf of the Affiliated Debtors (as defined below), and each of the Affiliated

 Debtors’ respective bankruptcy estates, on the one hand, and on the other hand, ITT’s former

 Chief Executive Officer Kevin Modany (“Modany”), and eight individuals who served as

 members of ITT’s board of directors (the “Board”) during all or part of the period beginning on

 April 20, 2016 and ending with ITT’s September 16, 2016 bankruptcy filing: John E. Dean

 (“Dean”), C. David Brown II (“Brown”), Joanna T. Lau (“Lau”), Thomas I. Morgan (“Morgan”),

 John Vincent Weber (“Weber”), John F. Cozzi (“Cozzi”), Samuel L. Odle (“Odle”), and Jerry M.

 Cohen (“Cohen,” and together with Dean, Brown, Lau, Morgan, Weber, Cozzi, and Odle, the

 “Directors” and, collectively with Modany, the “Defendants”), on the other hand, which is

 embodied in a certain settlement agreement (the “Settlement Agreement”), a copy of which is

 attached hereto as Exhibit B, on the following grounds:




 1
  The debtors in these cases, along with the last four digits of their respective federal tax identification numbers are
 ITT Educational Services, Inc. [1311]; ESI Service Corp. [2117]; and Daniel Webster College, Inc. [5980].
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                                        I. JURISDICTION

        1.      The Court has jurisdiction over this motion pursuant to 28 U.S.C. §§ 157 and

 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b).

        2.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.      The statutory predicates for relief are sections 105 and 363 of the United States

 Code (the “Bankruptcy Code”) and Rule 9019 of the Federal Rules of Bankruptcy Procedure (the

 “Bankruptcy Rules”).

                                       II. BACKGROUND

        4.      On September 16, 2016 (the “Petition Date”), ITT Educational Services, Inc.

 (“ITT”), ESI Service Corp. (“ESI”) and Daniel Webster College, Inc. (“DWC,” and together

 with ITT and ESI, the “Affiliated Debtors”) filed voluntary petitions for relief under chapter 7 of

 the Bankruptcy Code. The Trustee was appointed interim trustee under section 701 of the

 Bankruptcy Code in each of the Affiliated Debtors’ bankruptcy cases on the Petition Date, and in

 accordance with section 702(d) of the Bankruptcy Code, became the permanent case trustee on

 November 1, 2016 following the conclusion of the meeting of creditors held pursuant to section

 341(a) of the Bankruptcy Code.

        5.      On October 4, 2016, the Court entered its Order Granting Motion for Joint

 Administration of Chapter 7 Cases [Docs 221 & 222], directing the Affiliated Debtors’

 bankruptcy cases to be jointly administered for procedural purposes only.

        6.      On May 31, 2018, the Trustee commenced an adversary proceeding with this

 Court, captioned Deborah J. Caruso, as Chapter 7 Trustee for ITT Educational Services, Inc.,

 ESI Service Corp. and Daniel Webster College, Inc. v. Kevin Modany, John E. Dean, C. David

 Brown II, Joanna T. Lau, Thomas I. Morgan, John Vincent Weber, John F. Cozzi, Samuel L.

 Odle, and Jerry M. Cohen, Adv. Proc. No. No. 18-50100 (the “Adversary Proceeding”),
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 asserting claims against the Defendants for alleged breach of fiduciary duty and equitable

 subordination of claims arising from Defendants’ alleged breach of their fiduciary duties of

 loyalty, care, and good faith owing to ITT and its stakeholders during the period April 20, 2016

 until ITT’s bankruptcy filing on September 16, 2016.

           7.    On June 28, 2018, the Directors filed a motion in the Adversary Proceeding

 seeking to withdraw the reference, and on January 7, 2019, the United States District Court for

 the Southern District of Indiana (the “District Court”) entered an Order withdrawing reference of

 the Adversary Proceeding pursuant to 28 U.S.C. § 157(d), after which the proceeding was

 transferred to the District Court under Case No. 1:18-cv-02182-JPH-TAB (the “District Court

 Case”).

           8.    On May 23, 2019, Modany and the Directors filed separate motions to dismiss for

 failure to state a claim [Dkt. Nos. 39, 40], and on January 29, 2020, the District Court granted the

 motion to dismiss filed by the Directors, but denied the motion to dismiss filed by Modany [Dkt.

 No. 69].

           9.    After extensive fact discovery, including substantial production of documents and

 numerous depositions, and expert discovery, Modany filed a motion for summary judgment

 [Dkt. No. 108], which was granted by the District Court on June 27, 2022 [Dkt. No. 175]. On

 the same date, the District Court entered a final order dismissing the action as to all Defendants

 and claims (the “Final Order”) [Dkt. No. 176].

           10.   On July 22, 2022, the Trustee filed her notice of appeal to the Seventh Circuit

 Court of Appeals (the “Court of Appeals”) with respect to the Final Order dismissing all claims

 against all Defendants [Dkt. No. 177]. On July 25, 2022, the appeal was docketed with the Court

 of Appeals as Case No: 22-2292 (the “Appeal”).



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        11.      The Trustee and the Defendants subsequently participated in mediation of all

 issues (the “Mediation”), as directed by an Order issued by the Court of Appeals on July 29,

 2022, pursuant to Rule 33 of the Federal Rules of Appellate Procedure and Circuit Rule 33.

                                         III. SETTLEMENT

        12.      As a result of the Mediation and the deliberations of the Trustee and the

 Defendants, and after consultation with their respective counsel, the parties have concluded that

 the compromise and settlement embodied in the Settlement Agreement attached hereto as

 Exhibit B, is fair and reasonable, and that it is in their respective best interests and the best

 interests of the Affiliated Debtors’ bankruptcy estates to resolve their disputes on the terms set

 forth in the Settlement Agreement, without any party admitting any liability therefor.

        13.      The Defendants’ Statement expressing the Defendants’ position regarding the

 District Court’s rulings in the District Court Case is attached to the Settlement Agreement as

 Exhibit 1.

        14.      As more specifically addressed in the proposed Settlement Agreement, it

 generally provides that:

              (a) The Settlement Agreement will not become effective (the “Effective
                  Date”) until all of the following conditions precedent have occurred: (i)
                  all of the parties have executed the Settlement Agreement; and (ii) entry of
                  a final order approving the Settlement Agreement.

              (b) No later than thirty (30) days after the Effective Date, the Defendants shall
                  jointly deliver, or cause to be delivered to the Trustee the sum of
                  $370,000.00 (the “Settlement Payment”). The day on which the Trustee
                  receives the Settlement Payment shall be referred to as the “Receipt Date.”

              (c) No later than the fifth (5th) business day after the Receipt Date, the Trustee
                  shall file with the Clerk of the Court of Appeals, pursuant to Federal Rule
                  of Appellate Procedure 42(b), a copy of the signed Dismissal Agreement
                  attached to the Settlement Agreement as Exhibit 2, dismissing the Appeal
                  with prejudice pursuant to the terms of the Settlement Agreement and with
                  each party to bear its own costs, expenses, and attorneys’ fees.

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              (d) Modany filed Claim No. 2452 in ITT’s bankruptcy for the total sum of
                  $5,008,199.00 for amounts due under ITT’s Senior Executive Severance
                  Plan. Claim No. 2452 includes $12,850.00 as a section 507(a)(4) priority
                  claim, and the remainder of the claim is a general unsecured claim.
                  $6,404.64 of $12,850.00 shall be allowed as a section 507(a)(4) priority
                  claim and $5,001,794.36 shall be allowed as a general unsecured claim.
                  The amount of Modany’s section 507(a)(4) priority claim was arrived at
                  by netting out the funds received by Modany under the WARN class
                  action settlement. Modany shall not waive any right to distribution on
                  account of Claim No. 2452 as a result of accepting and depositing
                  payment received from the WARN class action settlement in the amount
                  of $6,445.36. Claim No. 846 filed by Modany in ITT’s bankruptcy case
                  shall be disallowed, having been subsequently amended and replaced by
                  Claim No. 2452 in ITT’s bankruptcy case. The Trustee shall not object to
                  the allowance of Claim No. 2452, which shall be allowed as provided for
                  herein. Modany shall not amend, modify or supplement the amount or
                  priority of Claim No. 2452 in ITT’s bankruptcy case, nor shall he assert
                  any other claims in any of the bankruptcy cases filed by the Affiliated
                  Debtors.

              (e) The proofs of claim filed by the Directors in ITT’s bankruptcy case have
                  previously either been withdrawn or disallowed, and the Directors shall
                  not assert any other claims in any of the bankruptcy cases filed by the
                  Affiliated Debtors.

                                    IV. RELIEF REQUESTED

        15.      The Trustee requests entry of an order, substantially in the form as Exhibit A,

 pursuant to sections 105(a) and 363 of the Bankruptcy Code and Bankruptcy Rule 9019, (a)

 approving the terms of the Settlement Agreement, (b) authorizing the Trustee to enter into the

 Settlement Agreement, and (c) directing that the Court shall retain exclusive jurisdiction as to the

 Settlement Agreement.

                            V. GROUNDS FOR GRANTING RELIEF

        16.      A court may authorize a trustee to enter into a settlement so long as it is a sound

 exercise of the trustee’s business judgment. See 11 U.S.C. § 363(b); In re UAL Corp., 443 F.3d

 565, 571 (7th Cir. 2006) (use under section 363 of the Bankruptcy Code must “[make] good

 business sense”); In re Schipper, 933 F.2d 513, 515 (7th Cir. 1991) (section 363 involves

 exercise of fiduciary duties and requires an “articulated business justification”); see also In re
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 Olde Prairie Block Owners, LLC, 448 B.R. 482, 492 (Bankr. N.D. Ill. 2011) (same). Moreover,

 when applying the “business judgment” standard to a use of estate property under section 363 of

 the Bankruptcy Code, a trustee’s judgment is “entitled to great judicial deference as long as a

 sound business reason is given.” See In re Efoora, Inc., 472 B.R. 481, 488 (Bankr. N.D. Ill.

 2012).

          17.   Similarly, Bankruptcy Rule 9019(a) permits a bankruptcy court to approve a

 trustee’s “compromise or settlement” after notice and a hearing, if such settlement is “fair and

 equitable . . . and in the best interests of the bankruptcy estate.” Depoister v. Mary M. Holloway

 Found., 36 F.3d 582, 586 (7th Cir. 1994); see also In re Energy Co-op., Inc., 886 F.2d 921, 927

 (7th Cir. 1989) (“The benchmark for determining the propriety of a bankruptcy settlement is

 whether the settlement is in the best interest of the estate.”); In re Smith, No 02-16450-JKC-7A,

 2008 Bankr. LEXIS 2821, *6 (Bankr. S.D. Ind. Sept. 10, 2008) (same). Settlements should be

 approved unless “the settlement ‘falls below the lowest point in the range of reasonableness.’”

 In re Commercial Loan Corp., 316 B.R. 690, 698 (Bankr. N.D. Ill. 2004) (quoting Energy Co-

 op., 886 F.2d at 929); In re Doctors Hosp. of Hyde Park, Inc., 474 F.3d 421, 426 (7th Cir. 2007);

 see also In re Artra Grp., Inc., 300 B.R. 699, 702 (Bankr. N.D. Ill. 2003). Settlements and

 compromises are favored in bankruptcy because they expedite case administration and reduce

 unnecessary administrative costs. Fogel v. Zell, 221 F.3d 955, 960 (7th Cir. 2000). In

 determining whether a compromise is in the best interests of the estate, the Court must compare

 “the settlement’s terms with the litigation’s probable costs and probable benefits.” In re Am.

 Reserve Corp., 841 F.2d 159, 161 (7th Cir. 1987); see also Doctors Hosp., 474 F.3d at 426

 (“Among the factors the court considers are the litigation’s probability of success, complexity,

 expense, inconvenience, and delay, including the possibility that disapproving the settlement will

 cause wasting of assets.” (internal quotation marks and citations omitted); Commercial Loan,
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 316 B.R. at 697 (holding that relevant factors a bankruptcy court should consider in approving a

 settlement include “the litigation’s probability of success, its complexity, and its ‘attendant

 expense, inconvenience and delay’” (quoting Am. Reserve Corp., 841 F.2d at 161)).

        18.     Here, the Trustee, in the exercise of her business judgment, believes that the

 Affiliated Debtors’ bankruptcy estates should accept the settlement terms based on the merits of

 the Defendants’ defenses to the Appeal and the risk and expense to the Affiliated Debtors’

 bankruptcy estates if the Appeal were to proceed. The Trustee believes entry into the Settlement

 Agreement is in the best interest of the Affiliated Debtors’ bankruptcy estates and represents a

 sound exercise of her business judgment. The various disputes between the parties are complex,

 and the outcome of the Appeal and underlying Adversary Proceeding is uncertain. Resolution of

 the Appeal, if it were to proceed, has the potential to, and likely will, prove costly and time

 consuming to all parties, and absent resolution of the issues covered by the Settlement

 Agreement, costs associated therewith will continue to accrue. Entry into the Settlement

 Agreement will resolve such issues consensually, bringing the Trustee another step closer to

 resolution of the bankruptcy cases.

        19.     For the foregoing reasons, the Trustee has determined, in the exercise of her

 sound business judgment, that the Settlement Agreement is fair, equitable, in the best interest of

 the Affiliated Debtors’ bankruptcy estates, and well within the range of reasonableness for

 approval under Bankruptcy Rule 9019(a). Accordingly, the Trustee submits that the Court

 should approve the settlement terms and the Trustee’s entry into the Settlement Agreement.

                                            VI. NOTICE

        20.     Pursuant to the Notice, Case Management and Administrative Procedures (the

 “Case Management Procedures”) approved by the Court on October 4, 2016 [Doc 220], the

 Trustee will serve a copy of this motion, including the exhibits, on the following (as defined in
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 the Case Management Procedures): (a) the Core Group; (b) the Request for Notice List; (c) the

 Appearance List; and (d) counsel to the Defendants.

         21.     Due to certain scheduling conflicts, the Trustee is contemporaneously filing

 herewith a motion requesting that a hearing on the requested relief herein be set off the omnibus

 hearing schedule.

         WHEREFORE, the Trustee respectfully requests entry of an order, substantially in the

 form attached hereto as Exhibit A, granting the relief requested herein and granting the Trustee

 all other just and proper relief.

                                                       Respectfully submitted,

                                                       RUBIN & LEVIN, P.C.
                                                  By: /s/ Meredith R. Theisen
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                                     CERTIFICATE OF SERVICE

        I hereby certify that on September 26, 2022, a copy of the foregoing Trustee’s Motion to
 Compromise and Settle Certain Claims Asserted Against ITT’s Former Chief Executive Officer
 and ITT’s Former Board of Directors was filed electronically. Pursuant to Section IV.C.3(a) of
 the Case Management Procedures, notice of this filing will be sent to the following parties
 through the Court’s Electronic Case Filing System. Parties may access this filing through the
 Court’s system.

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         I further certify that on September 26, 2022, pursuant to Section IV.C.3(c) of the Case
  Management Procedures, a copy of the foregoing Trustee’s Motion to Compromise and Settle
  Certain Claims Asserted Against ITT’s Former Chief Executive Officer and ITT’s Former Board
  of Directors was emailed to the following:

  CEC Red Run, LLC: Alan M. Grochal at agrochal@tydingslaw.com
  SWRE Deal V Building, LLC: Paul Weiser at pweiser@buchalter.com
  Tarrant County/Dallas County: Elizabeth Weller at dallas.bankruptcy@publicans.com
  Northwest Natural Gas Company: Ashlee Minty at Ashlee.Minty@nwnatural.com
  Solar Drive Business, LLC: Chris W. Halling at challing@hallingmeza.com
  Market-Turk Company: Jordan A. Lavinsky at jlavinsky@hansonbridgett.com
  Taxing Authority for Harris County, Texas: John P. Dillman at houston_bankruptcy@lgbs.com
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  Texas Comptroller of Public Accounts: Rachel Obaldo at rachel.obaldo@oag.texas.gov
  Clear Creek Independent School District: Carl O. Sandin at csandin@pbfcm.com
  Synchrony Bank: Recovery Management Systems Corporation at claims@recoverycorp.com
  Bexar County: Don Stecker at sanantonio.bankruptcy@publicans.com
  SWRE Deal V Building, LLC: Nancy K. Swift at nswift@buchalter.com
  TN Dept. of Revenue: Michael Willey at michael.willey@ag.tn.gov
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  Last Second Media, Inc.: T. Todd Egland at tegland@beldenblaine.com
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  Able Building Maintenance: Scott D. Fink at bronationalecf@weltman.com
  Marathon Ventures, LLC: Daniel M. Karger at kargerlaw@gmail.com
  Oklahoma County Treasurer: Tammy Jones at tammy.jones@oklahomacounty.org
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                                                                              /s/ Meredith R. Theisen
                                                                              Meredith R. Theisen
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